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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

  JOCELYN PIERRE,

                                         Plaintiff,           COMPLAINT

                     -against-                                Civil Action No.: 1:24-cv-7759

  BLACK GOLD BROOKLYN INCORPORATED,
  and PROJECT CATBIRD 461 LLC,

                                         Defendants.


             Plaintiff, JOCELYN PIERRE (“Plaintiff”), by and through his counsel, The Marks Law

 Firm, P.C., hereby files this Complaint against BLACK GOLD BROOKLYN INCORPORATED

 (“Black Gold”), and PROJECT CATBIRD 461 LLC (“Catbird;” collectively with Black Gold

 hereinafter referred to as “Defendants”) seeking equitable, injunctive, and declaratory relief;

 monetary and nominal damages; along with attorney’s fees, costs, and expenses pursuant to: Title

 III of the Americans with Disabilities Act 42 U.S.C. §12181, et. Seq. (“ADA”); the New York

 City Human Rights Law (“NYCHRL”); and the New York State Human Rights Law

 (“NYSHRL”). Plaintiff hereby alleges the following:

                                   JURISDICTION & VENUE

        1.      This Court is vested with jurisdiction pursuant to 28 U.S.C. §1331 and §1343

 because this is an action for declaratory and injunctive relief pursuant to Title III of the ADA.

        2.      Venue is proper pursuant to 28 U.S.C. §1391(B) because the events giving rise to

 this lawsuit occurred in the State of New York, County of Kings, at the property known as and

 located at 461 Court Street, Brooklyn, NY 11231 (hereinafter “Defendants’ Premises;” which

 includes the commercial space, commercial establishment, and public accommodation therein).
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        3.      This Court has supplemental jurisdiction over Plaintiff’s related claims arising

 under the NYSHRL and NYCHRL laws pursuant to 28 U.S.C. § 1367(a).

        4.      The remedies provided by the NYSHRL and NYCHRL against discrimination are

 not exclusive, and state administrative remedies need not be exhausted in connection with suits

 brought under the Federal Civil Rights Act.

                                             PARTIES

        5.      Plaintiff is a natural person and resident of the State of New York and Kings

 County.

        6.      Plaintiff is a paraplegic who uses a wheelchair for mobility, which constitutes a

 “qualified disability” under the ADA.

        7.      Black Gold is a domestic business corporation authorized to conduct business

 within the State of New York.

        8.      At all times relevant to this action and upon information and belief, Black Gold

 owns, leases, operates, maintains, and controls all, or the relevant portions, of Defendants’

 Premises.

        9.      Catbird is a domestic limited liability company authorized to conduct business

 within the State of New York.

        10.     At all times relevant to this action and upon information and belief, Catbird owns,

 leases, operates, maintains, and controls Defendants’ Premises.

        11.     The ADA, NYSHRL, NYCHRL, et seq. impose joint and several liability on the

 owner and lessee of a public accommodation.

        12.     Defendants, jointly and individually, are a public accommodation as they

 respectively own, lease, control, maintain, and operate all, or the relevant portions, of Defendants’

 Premises.


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                      FACTS COMMON TO ALL CAUSES OF ACTION

        13.     Defendants’ Premises is a public accommodation as defined by the ADA,

 NYSHRL, NYCHRL, et seq. because it, inter alia, provides goods and services to the public and

 is required to comply with the ADA, NYSHRL, NYCHRL, et seq.

        14.     Defendants’ Premises is a commercial space as defined by the NYSHRL, and

 NYCHRL because, inter alia, a portion of the building and structure thereof used or intended to

 be used as a business, office, and commerce.

        15.    On May 25, 2024, and other times before and after this date, Plaintiff attempted to

 enter Defendants’ Premises, which operates as a café that also sells records and antiques, known

 for its cozy atmosphere, vintage vibe, and offering of vinyl records across various genres, quality

 coffee and unique antiques. Defendants’ Premises is less than 1.2 miles from Plaintiff’s home.

        16.    Because the existing barriers prevent access and restrict the paths of travel, such as

 a step at the entrance, Plaintiff was unable to enter Defendants’ Premises.

        17.    Because the existing barriers prevent access and restrict the paths of travel, such as

 a step at the entrance, Plaintiff was denied full and equal access to, and full and equal enjoyment

 of, the commercial space and public accommodations within Defendants’ Premises.

        18.    Because the existing barriers prevent access and restrict the paths of travel into and

 within Defendants’ Premises, Plaintiff has been unable to shop and enjoy the offering of the goods

 and services within Black Gold Records. Nor was Plaintiff offered any assistance in entering

 Defendants’ Premises. As a result, Plaintiff was forced to seek another café that offers similar good

 and services that provides free travel and independent access as required by the ADA, NYSHRL,

 NYCHRL, et seq.

        19.     Plaintiff has since returned to Defendants’ Premises because he frequently spends

 time in the neighborhood; however, the barriers that prevent access and restrict the paths of travel


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 remain, and Plaintiff continues to be denied access and is deterred from returning based on his

 knowledge that the barriers exist. Accordingly, Plaintiff has and continues to suffer an injury in

 fact.

         20.     Defendants denying Plaintiff the opportunity to participate in and benefit from the

 services or accommodations offered within Defendants’ Premises because of his disability has

 caused Plaintiff to suffer an injury in fact.

         21.     Plaintiff intends on immediately returning to Defendants’ Premises once the

 barriers to access are removed and Defendants’ Premises are ADA compliant.

         22.     Defendants’ failure to comply with the ADA, NYSHRL, NYCHRL, et seq.

 impedes upon the rights of Plaintiff, and other similarly situated disabled individuals, to travel free

 of discrimination and independently access Defendants’ Premises.

         23.     In 2019, Plaintiff had previously sued Defendants for failing to provide ADA

 accessibility in Pierre v. Black Gold Brooklyn Incorporated, et al., EDNY Docket No.: 1:19-cv-

 06481-RPK-SMG. Despite Defendants’ pledge to maintain and make their Premises ADA

 accessible, they failed to do so.

         24.     Prior to the commencement of this litigation, Plaintiff informed Defendants by

 letter that Defendants’ Premises was not in compliance with the ADA, NYSHRL, NYCHRL, et

 seq., and that Plaintiff had and continues to be denied access to Defendants’ Premises. Defendants

 initially responded to this communication and engaged in preliminary conversations about this

 matter and then inexplicably stopped communicating with Plaintiff. The barriers that prevent

 access and restrict the paths of travel still exist, and there still is no independent access to

 Defendants’ Premises for Plaintiff and other similarly situated disabled individuals.




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                                   COUNT I
               VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

         25.     Plaintiff repeats and reiterates each and every allegation contained in the above

 paragraphs as if fully set forth at length herein.

         26.     The ADA prohibits discrimination on the basis of disability by, inter alia,

 guaranteeing individuals with disabilities are provided with reasonable accommodations that

 enable free travel and independent access to commercial establishments, commercial spaces, and

 public accommodations by the owners and operators of same.

         27.     The ADA, the 2004 ADA/ABA Accessibility Guidelines for Buildings and

 Facilities (36 CFR Part 1191, Appendices B and C) along with 28 CFR Part 36, Subpart D, the

 New Construction and Alterations portion of Title III (collectively referred to as the “Accessibility

 Standards”) establish that property owners and the operators of commercial establishments,

 commercial spaces, and public accommodations are responsible for complying with these

 Accessibility Standards.

         28.     Upon information and belief, Defendants’ Premises was built before January 26,

 1990, and has subsequently undergone substantial remodeling, repairs, and alterations.

         29.     Defendants have discriminated, and continue to discriminate, against Plaintiff and

 others that are similarly situated by denying full and equal access to, and full and equal enjoyment

 of, the goods, services, facilities, privileges, advantages, and accommodations offered by

 Defendants at Defendants’ Premises, in violation of the Accessibility Standards.

         30.     Plaintiff has been, and continues to be, unable to enjoy full and equal safe access

 to, and the benefits of, all the accommodations and services offered by Defendants at Defendants’

 Premises.




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         31.     Plaintiff visited Defendants’ Premises with the intention of utilizing the commercial

 establishments, commercial spaces, and public accommodations within Defendants’ facilities but

 was denied access because of the barriers that prevent access and restrict the paths of travel, and

 therefore suffered an injury in fact.

         32.     Plaintiff continues to reside in New York and desires to visit Defendants’ Premises

 in the future but continues to be injured by Defendants’ failure to remove the barriers that prevent

 access and restrict the paths of travel to and from Defendants’ Premises. Accordingly, Plaintiff

 continues to be discriminated against in violation of the ADA, NYSHRL, NYCHRL, et seq.

         33.     Pursuant to the mandates of 42 U.S.C. §12134(a), On July 26, 1991, the Department

 of Justice, Office of Attorney General, promulgated Federal Regulations to implement the

 requirements of the ADA, known as the Americans with Disabilities Act Accessibility Guidelines

 (hereinafter “ADAAG”), 28 C.F.R. Part 36, under which said Department may obtain civil

 penalties of up to $55,000 for the first violation and $110,000 for any subsequent violation.

         34.     Defendants’ Premises is in violation of the ADA, 42 U.S.C. §12181 et. Seq., and

 the Accessibility Standards, and is discriminating against the Plaintiff, in pertinent part, as a result

 of the following violations:

            a.    Defendants’ Premises lacks an access route from site arrival points, such as
                 the public streets and sidewalks, to an accessible entrance due to the step
                 leading to the entrance, in violation of Sections 206.2.1, 303.5, and 404.2.4 of
                 the 2010 ADAAG Standards.

            b. Defendants’ Premises lacks a service counter that complies with Sections
               904.4 and 227.3 of the 2010 ADAAG Standards. More specifically, the
               existing service counter exceeds 34 (thirty-four) inches in height from the
               floor.

            c. Defendants’ Premises lacks adequate directional and accurate informational
               signage throughout the commercial space and public accommodation.

            d. Defendants’ Premises lacks at least 5%, but not less than one, accessible indoor
               and outdoor dining table and seating with proper knee/toe clearance.


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           e. Defendants’ Premises lacks a safe and accessible means of egress for
              emergencies.

           f. Defendants’ Premises lacks accessible merchandise/merchandise displays.

           g. Defendants fail to adhere to a policy, practice, and procedure to ensure that all
              facilities are readily accessible to and usable by disabled individuals.

        35.     Upon information and belief, there are other current violations of, inter alia, the

 ADA, NYSHRL, NYCHRL, et seq. at Defendants’ Premises, and only once a full inspection is

 done can all said violations be identified.

        36.     To avoid fragmentary litigation, Plaintiff requires a full inspection of Defendants’

 Premises to identify Defendants’ joint and several violations of and non-compliance with the

 ADA, NYSHRL, NYCHRL, et seq. As such, notice is therefore given that Plaintiff intends to

 amend the Complaint to include any violations discovered during an inspection that are not

 contained in this Complaint that Defendants must remediate.

        37.     To date, the barriers and other violations of the ADA at and within Defendants’

 Premises still exist, and the removal of same are readily achievable; however, these violations have

 not been remedied or altered in such a way as to effectuate compliance with the provisions of the

 ADA, NYSHRL, NYCHRL, et seq.

        38.     Pursuant to ADA, 42 U.S.C. §1201 et. Seq. and the Accessibility Standards,

 Defendants were required to make Defendants’ Premises, a place of public accommodation,

 accessible to persons with disabilities since January 28, 1992. To date, Defendants have failed to

 comply with this mandate.

        39.     Defendants failed to make alteration accessible to Defendants’ Premises to the

 maximum extent feasible.

        40.     Defendants failed to make all readily achievable accommodations and

 modifications that would remove barriers and create independent access to Defendants’ Premises.


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         41.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant the

 Plaintiff injunctive relief; including an order to alter Defendants’ Premises to make them readily

 accessible to, and useable by, individuals with disabilities to the extent required by ADA, and order

 the closing of Defendants’ Premises until the required modifications are completed.

         42.     Plaintiff has suffered and will continue to suffer damages because of Defendants,

 joint and several, violations of the ADA in an amount to be determined at trial or by the Court,

 along with an award of Plaintiff’s reasonable attorneys’ fees, expenses, and costs as provided for

 by the ADA.

                                    COUNT II
               VIOLATIONS OF THE NEW YORK CITY HUMAN RIGHTS LAW

         43.     Plaintiff repeats and reiterates each and every allegation contained in the above

 paragraphs as if fully set forth at length herein.

         44.     The New York City Human Rights Law provides:

                a. It shall be an unlawful discriminatory practice for any person, being the
                   owner, lessee, proprietor, manager, superintendent, agent, or employee of
                   any place or provider of public accommodation because of the actual or
                   perceived…disability…of any person, directly or indirectly, to refuse,
                   withhold from or deny to such person any of the accommodations,
                   advantages, facilities or privileges thereof…to the effect that any of the
                   accommodations, advantages, facilities and or denied to any person on
                   account of…disability…
                   NYC Admin. Code §8-107(4)(a).

         45.     Defendants’ Premises is a commercial space and public accommodation as defined

 in the NYCHRL.

         46.     Defendants, jointly and severally, are in violation of the NYCHRL because they

 have failed to remove existing barriers that prevent access and restrict the paths of travel into

 commercial space and public accommodation within Defendants’ Premises.




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        47.     Defendants, jointly and severally, are in violation of the NYCHRL because they

 have failed to provide Plaintiff with full and safe access to all of the benefits, accommodations,

 and services of the commercial space and public accommodation within Defendants’ Premises.

        48.     Defendants, jointly and severally, are in violation of the NYCHRL by intentionally

 creating and maintaining an inaccessible commercial space and public accommodation within

 Defendants’ Premises.

        49.     Plaintiff has been directly harmed and damaged because of Defendants, joint and

 several, violations of the NYCHRL.

        50.     Defendants have, jointly and severally, derived and collected revenue and

 otherwise profited from their use of Defendants’ Premises in violation of the ADA, NYSHRL,

 NYCHRL, et seq. As such, any profits from the use of Defendants’ Premises should be disgorged

 pursuant to NYCHRL.

        51.     Defendants, joint and several, violation of the ADA, NYSHRL, NYCHRL, et seq.,

 and their years of unlawful discriminatory conduct constitutes willful and wanton conduct for

 which Plaintiff is entitled to an award of punitive damages to be determined at trial or by the Court.

        52.     Plaintiff demands compensatory damages in an amount to be determined at trial or

 by the Court, including all applicable statutory damages and fines, for Defendants, joint and

 several, violation of his civil rights and the NYCHRL.

        53.     Plaintiff has suffered and will continue to suffer damages because of Defendants,

 joint and several, violations of the NYCHRL in an amount to be determined at trial or by the Court,

 along with an award of Plaintiff’s reasonable attorneys’ fees, expenses, and costs as provided for

 by the NYCHRL.




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                                  COUNT III
             VIOLATIONS OF THE NEW YORK STATE HUMAN RIGHTS LAW

         54.     Plaintiff repeats and reiterates each and every allegation contained in the above

 paragraphs as if fully set forth at length herein.

         55.     The New York State Human Rights Law provides:

               a. It shall be unlawful discriminatory practice for any person, being the
                  owner, lessee, proprietor, manager, superintendent, agent, or employee of
                  any place of public accommodation…because of the…disability…of any
                  person, directly, or indirectly, to refuse, withhold from or deny to such
                  person any of the accommodations, advantages, facilities, or privileges
                  thereof…to the effect that any of the accommodations, advantages,
                  facilities and privileges of any such place shall be refused, withheld from
                  or denied to any person on account of…disability…
                  NYS Exec. Law §296 (2)(a).

         56.     Defendants’ Premises is a commercial space and public accommodation as defined

 in the NYSHRL.

         57.     Defendants, jointly and severally, are in violation of the NYSHRL because they

 have failed to remove existing barriers that prevent access and restrict the paths of travel into the

 commercial space and public accommodation within Defendants’ Premises.

         58.     Defendants, jointly and severally, are in violation of the NYSHRL because they

 have failed to provide Plaintiff with full and safe access to all of the benefits, accommodations,

 and services of the commercial space and public accommodation within Defendants’ Premises.

         59.     Defendants, jointly and severally, are in violation of the NYSHRL by creating and

 maintaining an inaccessible commercial space and public accommodation within Defendants’

 Premises.

         60.     Plaintiff has been directly harmed and damaged because of Defendants, joint and

 several, violations of the NYSHRL.




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         61.     Defendants have, jointly and severally, derived and collected revenue and

 otherwise profited from their use of Defendants’ Premises in violation of the ADA, NYSHRL,

 NYCHRL, et seq. As such, any profits from the use of Defendants’ Premises should be disgorged

 pursuant to NYCHRL.

         62.     Defendants, joint and several, violation of the ADA, NYSHRL, NYCHRL, et seq.,

 and their years of unlawful discriminatory conduct constitutes willful and wanton conduct for

 which Plaintiff is entitled to an award of punitive damages to be determined at trial or by the Court.

       63.      Plaintiff demands compensatory damages in an amount to be determined at trial or

 by the Court, including all applicable statutory damages and fines, for Defendants, joint and

 several, violation of his civil rights and the NYSHRL.

         64.     Plaintiff has suffered and will continue to suffer damages because of Defendants,

 joint and several, violations of the NYSHRL in an amount to be determined at trial or by the Court,

 along with an award of Plaintiff’s reasonable attorneys’ fees, expenses, and costs as provided for

 by the NYSHRL.

                                           COUNT IV
                                       INJUNCTIVE RELIEF

         65.     Plaintiff repeats and reiterates each and every allegation contained in the above

 paragraphs as if fully set forth at length herein.

         66.     Plaintiff will continue to experience unlawful discrimination as a result of

 Defendants, joint and several, violation of the ADA, NYSHRL, NYCHRL, et seq.

         67.     The ADA, NYSHRL, and NYCHRL each vest this Court with the authority to grant

 injunctive relief that the court deems proper.

         68.     A permanent injunction is immediately needed to order Defendants, jointly and

 severally, to immediately alter Defendants’ Premises and make the commercial space and public



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 accommodation therein readily accessible to and usable by Plaintiff and other persons with

 disabilities in accordance with the ADA, NYSHRL, NYCHRL, et seq.

        69.        A permanent injunction is also needed forthwith to order Defendants, jointly and

 severally, to immediately provide appropriate auxiliary aids or services, modifications of

 Defendants respective policies, or provisions of alternative methods in accordance with the ADA,

 NYSHRL, NYCHRL, et seq.

        70.        Should Defendants not immediately comply with this Court’s orders for the

 permanent injunctive relief prayed for above, the Court should order the immediate closure of

 Defendants’ Premises until such time that Defendants’ Premises is made fully compliant with the

 ADA, NYSHRL, NYCHRL, et seq.

        71.        Defendants have no defenses or justifications for their violations of the ADA,

 NYSHRL, NYCHRL, et seq.

        72.        Because of Defendants’ years of non-compliance with the ADA, NYSHRL,

 NYCHRL, et seq., Plaintiff has no adequate remedy at law.

                                       PRAYER FOR RELIEF

         WHEREFORE, the Plaintiff hereby demands judgment against Defendants, jointly and

 severally, as follows:

              a.      A declaratory judgment that Defendants, jointly and severally, are in
                      violation of the ADA, NYSHRL, NYCHRL, et seq. in their ownership,
                      leasing, control, maintenance, and operation of the commercial space
                      and public accommodation within Defendants’ Premises;

              b.      A permanent injunction forthwith ordering Defendants, jointly and
                      severally, to immediately alter Defendants’ Premises and make
                      facilities readily accessible to and usable by Plaintiff and other persons
                      with disabilities in accordance with the ADA, NYSHRL, NYCHRL, et
                      seq.;

              c.      A permanent injunction forthwith ordering Defendants, jointly and
                      severally, to immediately provide where appropriate auxiliary aids or


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                 services, modifications of Defendants respective policies, or provisions
                 of alternative methods in accordance with the ADA, NYSHRL,
                 NYCHRL, et seq.;

            d.   Should Defendants not immediately comply with this Court’s orders
                 for the permanent injunctions prayed for herein, the Court should
                 immediately order the closure of Defendants’ Premises as to
                 Defendants, jointly and severally, until such time that Defendants’
                 Premises is made fully compliant with the ADA, NYSHRL, NYCHRL,
                 et seq.;

            e.   An award of compensatory damages in an amount to be determined at
                 trial or by the Court as provided for by the ADA, NYSHRL, NYCHRL,
                 et seq.;

            f.   An award of compensatory damages in an amount to be determined at
                 trial or by the Court as provided for by the NYSHRL, and NYCHRL,
                 et seq.;

            g.   An award of reasonable attorney fees, expenses, and costs; and

            h.   Such other and further relief as this Court deems necessary, just and
                 proper.

 Dated: New York, New York
        November 6, 2024
                                          THE MARKS LAW FIRM, PC


                                          By: ______________________
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

 JOCELYN PIERRE,

                                 Plaintiff,

               -against-

 BLACK GOLD BROOKLYN INCORPORATED, and PROJECT CATBIRD 461 LLC,

                                 Defendants.


                           SUMMONS AND COMPLAINT


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